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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                                _________


CINDY GAMRAT,

       Plaintiff,                             Hon. Phillip J. Green

v.                                            Case No. 1:16-cv-01094-PJG


JOSHUA CLINE, et al.,

       Defendants,
________________________________/

                                      ORDER

      This matter is before the Court on Plaintiff's motion to extend deadline to file

motion to amend pleadings. (ECF No. 87). The Court being fully advised in the

premises, the motion is GRANTED.

      IT IS SO ORDERED.



Date: July 13, 2018
                                             /s/ Phillip J. Green
                                             PHILLIP J. GREEN
                                             United States Magistrate Judge
